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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
CIVIL I)lVlSION

JABARI STAFFORD
6491 Woodbinc Ave.
l’hiladelphia, I’A
Pia:`m.j`)_‘}‘l

V.

THE GEORGE WASHINGTON
UNIVERSITY
2121 l (E)-'c) Slrcel. NW
Washing,ton, DC 20052

and
PATRICK NERO
GWU Athletic Director
12953 Ccntre Park Cir Apl 2]?
I-Ierndon_. VA 20171

and
NlCOLE EARLY
GWU ASSl. Ath]etic Director
2121 1 (Eyc) Street, NW
Washington. I)C 20052

and
GRF.GORY A. MUNOZ
GWU Head Tennis Coach
1515 Lincoln Cir
McKean VA 22102

and
I)AVID MACPHERSON
GWU Head Tcnnls Coach
2121 1 (Eye) Street, NW
Washington. DC 20052

and

.IOHN DOES, 1-10

(Addresses and actual identities to .
bc provided upon discovery) { _ \T¢ _, I
chfendan£s. E"[|"L" ___»____“ "' l . t~-'_¢_§:;_j

Case: 1:18-cv-02789 Jury Demand
Assigned To : Cooper, Christopher R.
Assign. Date : 11/26!2018

Descn`ption: Pro Se Gen. Civil F Deck

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COMPLAINT FOR DECLARATORY.. IN.]UNTIVE ANI) COMPENSA'I`ORY RELlEF

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COMES NOW the Plaintiff, Jabari Stafford, and acting pro se, complains of the
Defendants as follows:

W_Ag_l_@!

1. Plaintiff (hereinaiier “Plaintiff”), an African-American male, brings this action
against Defendants, the George Washington University (“GWU”), and various agents, servants,
workmen ad/or employees thereof, under the D.C. Human Rights Act (DCHRA), D.C. Code
Ann. §§ 2.1401.01 et seq., Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 1981. of the
Civil Rights Act of 1866, as amended, and for breach of contract, negligent infliction of
emotional distress and negligent retention.

2. As a student at GWU and member of the men’s tennis team, Plaintiff was
subjected to severe racial discrimination, defamation of character, grave emotional distress and
conspiracy by the coaches, administration and by his fellow student athletes on the GWU tennis
team. At all times relevant to this action, GWU failed to remedy the racial discrimination
perpetrated on Plaintiff while he attended the university, despite GWU’s knowledge of the
discrimination and harassment

3. As a result of the Defendants’ actions, Plaintiff underwent severe emotional
distress and depression throughout his time at GWU which stalled his promising tennis career
and prevented him from obtaining his Bachelor’s Degree on time. To this day, Plaintiff
continues to experience severe emotional distress and professional repercussions as a result of

Defendant’s actions.

PARTIES
4. Plaintiff is an African American individual residing in Philadelphia PA. Plaintiff

was previously enrolled in George Washington University’s undergraduate program from

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September 2014 to December 2017. Plaintiff was a member of the GWU men’s tennis team and
one of two African Americans on the team during his tenure.

5. Defendant, the George Washington University (“GWU”) is an educational
institution located in Washington, DC. 'l`he school, established in 1821, confers both graduate
and undergraduate degrees and receives federal funding.

6. Defendant, PATRICK NERO is an adult individual at all relevant times acting as
an agent, servant, workman and/or employee of GWU, in the position of “Athletic Director,”
residing at 12953 Centre Park Cir Apt 217 Hemdon, VA 20171

7. Defendant, NICOLE EARLY, is an adult individual at all relevant times acting as
an agent, servant, workman and/or employee of GWU, in the position of “Assistant Athletic
Director,” who can be served with summons and process at GWU, at the above-captioned
address.

8. Defendant, GREGORY A. MUNOZ, is an adult individual at all relevant times
acting as an agent, servant, workman and/or employee of GWU, in the position of “I-Iead Tennis
Coach,” at all relevant times residing at the above-captioned address, 1515 Lincoln Cir,, McKean
VA 22102.

9. Defendant, NICOLE EARLY, is an adult individual at all relevant times acting as
an agent, servant, workman and/or employee of GWU, in the position of “Assistant Athletic
Director,” who can be served with summons and process at GWU, at the above-captioned
address.

10. Defendant, DAVID MACPHERSON, is an adult individual at all relevant times

acting as an agent, servant, workman and/or employee of GWU, in the position of “Head 'l`ennis

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Coach,” at all relevant times who can be served with summons and process at GWU, at the
above-captioned address.
JURISDICTION AND VENUE
11. This Court has jurisdiction over Plaintifi’s claims pursuant to 28 U.S.C. § 1331,

28 U.s.C. § 1343(a)(4) and 28 U.s.c. § 1367.

12. 'I'his Court also has jurisdiction over Plaintiff’ s claims pursuant to 28 U.S.C. §
1332 (Diversity) because the parties are citizens of different States and the amount at issue in the
litigation is greater than $75,000, exclusive of interest and costs.

13. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial
portion of the events or omissions giving rise to the claims occurred in the District of Columbia
and because, at all relevant times, Defendant GWU was doing business in the District of
Columbia.

FACTS RELEVANT TO ALL CLAIMS

14. For as many years as he can remember, Plaintiff dreamed of playing tennis
professionally. Since he was a child, Plaintiff trained hours upon hours to make his dream a
reality. His parents made significant sacrifices, financial and otherwise, to educate their son and
help him establish himself as a preeminent tennis player. It was also Plaintiff’s dream to obtain a

business degree so that he could one day take over his father’s businesses.

15. When it came time for Plaintiff to attend college, choosing the right school was
extremely important because the experience, training and prestige of the program would help
Plantiff get to the next level in his tennis career.

16. Plaintiff and his family researched GWU and its tennis team in making the

decision regarding which school was best suited for Plaintiff both academically and

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professionally. Plaintiff and his father met with Greg Munoz, the tennis coach at the time,
regarding what Plaintiff could expect as a member of the school’s tennis team, Mr. Munoz told
him about all of the great players who came out of GWU who went on to have successful careers
in tennis. Plaintiff was excited about the educational and athletic opportunities that GWU
offered. Plaintiff understood that if he worked hard, his efforts would be rewarded at GWU and
that his experience at the school would open doors to a promising tennis career.

17. Plaintift’s father told Coach Munoz that if there were any issues of any sort
pertaining to Plaintift’s behavior or performance at GWU to let him know so he could handle
them with Plaintiff in the most professional way possible. Munoz appreciated Plaintifi’s father’s
support for his program and his commitment to Plaintift’s contributions towards the tennis team.
However, Munoz had other plans of keeping the parents separate from his program and being in
sole control of the physical and mental development of his players.

18. Plaintiff enrolled at the University as a freshman in September 2014, two weeks
into the Fall season. Plaintiff and two other players of color, one Persian American and one
African American were called into Coach Munoz’s office. At the start of the meeting, Coach
Munoz asked Plaintiff and the other players what they all had in common. Plaintiff and the other
players were perplexed. Coach Munoz told them that they were all Americans and that
American players have failed him extensively in the past. He went on to talk about how all of
the European players were superior and much more responsible compared to their American
counterparts. Coach Munoz then threatened Plaintiff and the other players that if they did not get
off to a good start at the beginning of the year, he would severely punish them. Munoz’s threats
were aimed only at the non-White members of the team and were wholly unwarranted, especially

because Plaintiff and his fellow teammates had just started the Fall season. In a GW organized

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match, Coach Munoz was heard by players and their parents stating, “I hate Americans.” Despite
one of the other players of color struggling with being a responsible student athlete, Plaintiff and
his Persian teammate had no minor or serious infractions Plaintiff and the two other players of
color were subjected to constant threats which even included emails only directed to them and no
one else on the team.

19. The bullying by the coaches of the tennis players who were of color was not
limited to Coach Munoz. Phillipe Oudshoom, the GWU Men’s Assistant Coach at the time, also
bullied another player who was of Persian descent. Oudshoorn would belittle this player, make
jokes that alluded to him being a terrorist and from the middle east, and make sexually charged
jokes designed to make the player uncomfortable and embarrassed of what Oudshoorn assumed
to be the player’s religious upbringing. Munoz witnessed many of these exchanges and, upon
information and belief, Oudshoom was never reprimanded or disciplined for his discriminatory
conduct ln fact, Munoz also took part in bullying this player including a physical altercation at
a GWU men’s basketball game. At the end of Plaintiff’s freshman year, one of the seniors stated
very clearly in the team’s individual group chat that the coach’s ‘bullying’ of the Persian player
had gone too far and admitted that him and his fellow teammates ‘enjoyed’ it often. The Persian
player was also excluded from the group chat and subjected to extensive bullying in which his
teammates would make fun of his mental state and created their own disease named after him.
The Persian player was kicked off of the team the first week of his sophomore year for unknown
reasons.

20. In or around September 2014 on the way back from a tournament at the University
of Virginia, Coach Oudshoom told Plaintiff a story about a Black tennis player on his university

team whom Oudshoom and his teammates in college would verbally and physically abuse

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because he was Black. Oudshoorn told Plaintiff that he and his teammates would constantly call
this person nigga” and make fun of the color of his skin, which, according to Oudhoorn, was
very dark. Oudshoom laughed about how he and his teammates would “brainwash” their Black
teammate into making him “act” like a ‘White’ person, make him dress in preppy clothing and
try to force him into “thinking” like a ‘White’ person.

21. Plaintiff' s Persian teammate told Plaintiff during the fall that Oudshoom had
caused him and the team to get into a van crash. Plaintiffs Persian teammate told Plaintiff how
startled he was. Plaintiff remembered how careless Oudshoorn drove the van and became very
frightened every time he got into the vehicle auer hearing the news. Plaintiff’s Persian teammate
told Plaintiff that this was reported to Munoz but no repercussions ever took place.

22. Plaintiff' s white teammates would often post racially insensitive jokes and rhetoric
on social media. For example, during Plaintiff’s freshman year, Francisco Dias posted a racist
picture on Facebook, that Plaintiff still has, of a black version of SpongeBob that read, “Watch
Black SpongeBob on Niggalodeon.” Coach Munoz was likely aware of these racist posting
because he was Facebook friends with the tennis players and he told the players that he
monitored social media postings because he wanted to make sure that his student-athletes
conducted themselves in a professional manner publicly. In other instances, later in Plaintiff s
tenure, various players would chen make racist comments in the team group chats. Chris
Reynolds (“Reynolds”), a white male member of the team from England, referred to a black
person as a gorilla and referred to black poetry as “black shitty poetry”. Chris Reynolds would
often spew very hatefdl rhetoric towards Jewish people. PlaintiH` was witness to him saying “I’m
not racist but I hate Jewish people” and also calling another teammate in the group chat who was

very cautious of spending money a ‘jew’. Christos Hadjigeorgiou and Dennis Afanasev would

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often throw racial slurs in the group chat such as ‘nig’ and ‘nigga’ when Plaintiff was excluded
from the group chat. Fernando Sala, a newcomer during Plaintiff"s sophomore year, went on a
rant in the group chat due to an American student not giving him the answers to questions on an
exam he previously took. I-le stated “I hate Americans with all my heart!...Fucking Americans
will not tell you the questions of an exam they took already. . .Fucking cunts”.

23. Even though most of the instances above happened throughout Plaintiff’s tenure,
there was still substantial overt racism during the first couple of` months of his freshman year,
These instances of overt racist behavior eviscerated Plaintiff’s desire to participate in team
activities and caused him to try to limit his interactions with his teammates as much as possible.

24. In or around January 2015, the tennis team engaged in pre-season practices and
activities to promote team bonding and to get ready for the upcoming tennis season. 'I`he team
travelled together in a van driven by Coach Munoz to the Southeast Tennis and Leaming Center,
the team’s indoor practice facility, in Southeast, D.C., a predominantly African American area of
the city. Reynolds asked out loud, “Do they call black people “negroes” or “niggers” in
America?” He started laughing. Plaintiff responded that Reynolds “couldn’t say that.” Coach
Munoz, after overhearing this exchange, turned around and chastised Plaintiff for confronting
Reynolds. He told Plaintiff that Reynolds was from another country and didn’t understand what
he was saying. Plaintiff was shocked that he was the focus of Munoz’s ire and not Reynolds.

25. A week after this incident, on January 18, 2015, Coach Munoz sent Plaintiff an
email informing him that he was suspended from the tennis team “until further notice.” Munoz’s
justifications for suspending Plaintiff was that Plaintiff had been disrespectful to his teammates,

had anger issues, did not show pride in the University, was selfish because he did not support his

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teammates in victory and in defeat and because he disrespected the tennis director at the
Southeast Tennis and Leaming Center.

26. This was quite strange due to the fact that Plaintiff’s father was in contact with
Munoz occasionally just to check in. Plaintiff s father and Munoz would not have extensive
conversations but Plaintiffs father was always under the assumption that Plaintiff was doing
well due to Munoz always stating that there were no issues Plaintiff was experiencing

27. The team had not even played a single team match by this point. Munoz’s
purported justification for the suspension were false and pretext for discrimination In fact, in
many instances, the alleged misconduct Munoz cited were instances in which Plaintiff objected
to his teammates and/or coaches racist conduct.

28. Plaintiff attended a meeting with Munoz, Nicole Early, Assistant Athletic Director
at the time, and his father to discuss his suspension Coach Munoz explained his justifications
for suspending Plaintiff. For example, Plaintiff was accused of disrespecting his fellow
teammates even though Reynolds made blatant racist comments to Plaintiff in front of Munoz,
which Munoz chastised Plaintiff for defending himself. Coach Munoz justifications for
Plaintiff"s disrespect to teammates were more stemmed at Plaintist social withdrawal from the
team.

29. Munoz viewed Plaintiff as the stereotypical and derogatory “Angry Black Male”
and that any attempt by Plaintiff to stand up for himself would be viewed as aggressive behavior
that would not be tolerated. During the fall season, Munoz would tell Plaintiff that he was big
and strong and that his teammates Were scared of him.

30. With respect to Munoz’s accusation that Plaintiff failed to show pride in the

University, Munoz explained that when he asked Plaintiff his opinion regarding the GW men’s

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basketball team’s chance for success that season, Plaintiff said that the team “sucked.” Plaintiff
never said that the team “sucked,” or used words to that effect. lnstead, Plaintiff offered a
thoughtful analysis that the basketball team could use a better outside presence but that they still
had a decent chance of success. But even if he had said that the team “sucked,” that was not an
indication of a lack of pride in the school or a basis for suspension.

31. Munoz’s justifications for Plaintiff s alleged disrespect to the director of the
Southeast Tennis and Leaming Center was supposedly one big misunderstanding The director
told Plaintiff s father that he did not disrespect him and that Plaintiff was just upset that he
wasn’t able to find his phone. 'I`he director ended up saying that it was completely blown out of
proportion.

32. Plaintifi’s father asked if he could speak with Patrick Nero, who was the GWU
Athletic Director at the time (he has since resigned) regarding the suspension. Early and Munoz
responded that he could not speak with Mr. Nero because they were handling it. Plaintiff and his
father brought up many concerns about overt racism during the meeting. However, Coach
Munoz was very adamant that no such thing was involved and that Plaintiff needed to be
punished for his behavior.

33. After the meeting, Plaintiff s father tried to speak with Coach Munoz because he
was understandably confused about the bases for the suspension. Coach Munoz refused to talk
to him. Plaintist father then reached out to Nicole Early who declined to speak with him.

34. Plaintiff’s suspension was contrary to NCAA and GWU’s internal policies and
procedures because Plaintiff never committed any infraction that would be grounds for a
suspension and because the University was required to afford Plaintiff due process prior to

suspending him. At all times relevant to this case, Plaintiff complied with all rules and

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regulations pertaining to his eligibility to play tennis and be a member of the GWU’s tennis
team, Upon information and belief, Defendant GWU was aware that its suspension of Plaintiff
was discriminatory and contrary to its own policies regarding discipline, yet it took no action to
rectify Plaintiff s unlawful suspension,

35. Defendant’s suspension of Plaintiff was also contrary to discipline the school
issued to students outside of Plaintiff's protected class. For example, during Plaintiff’s fall
season, an underage white player was suspended for only a week based on an actual infraction of
the school’s alcohol policy which paled in comparison to Plaintiff’s one-month suspension,
which was not based on a_ily school infraction.

36. As a result of the discriminatory treatment Plaintiff was subjected to, including his
unlawful suspension from the tennis team, Plaintiff became depressed and withdrawn. He
sought treatment from a psychologist

37. Shortly after being suspended, an acquaintance of Plaintiff asked him if he was
interested in joining his fratemity, which was considered by students to be a “White” fi‘atemity
due to its overwhelmingly Caucasian membership. Plaintiff was not interested in joining a
fraternity and was certainly not in the frame of mind to socialize when he had just been kicked
off of the tennis team on spurious grounds.

38. Somehow the news got back to Munoz that Plaintiff was asked to join this
“White” fratemity. Munoz called Plaintiff into his office and presented him with an ultimatum.
He told Plaintiff that he would feel more “comfortable” reinstating him to the tennis team if he
was able to become a member of the fiaternity’s upcoming pledge class. Plaintiff said that he

was not interested in joining the fratemity. Munoz responded that Plaintiff had “major social

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problems” and that he would not let Plaintiff back on the team until Plaintiff could prove to him
that he could get accepted into this fratemity.

39. Plaintiff was completely despondent. He did not know what to do. The whole
point of attending GWU was to play on the tennis team and get a good education. Neither was
happening at this point, so in an effort to get back onto the tennis team, Plaintiff went to the open
house for this fraternity and shortly thereafter, was given a “bid” to pledge.

40. Approximately a week later, Munoz called Plaintiff into his office because he had
heard that Plaintiff received a bid to join the fratemity. Munoz appeared surprised that Plaintiff
received a bid. But before Munoz would reinstate Plaintiff, he had two more conditions: First
Plaintiff would have to apologize to each of his teammates and ask for forgiveness for his
purported disrespectful conduct towards them. Second, before Coach Munoz would formally
reinstate Plaintiff, Munoz queried each team member regarding whether they felt comfortable
with Plaintiff coming back on the team and if they even wanted Plaintiff back on the team. Afier
Plaintiff went to Fletcher’s room to apologize (for reasons unknown), in order to ruin Plaintiff s
chances of coming back onto the team, he told Munoz that the apology was not sincere and that
Plaintiff should not be let back on.

41. Plaintiff felt demoralized and humiliated by the conditions that Munoz imposed on
him. Requiring Plaintiff to apologize to his teammates was extremely difficult and humiliating
for Plaintiff especially because he had not done anything wrong to any of his teammates and
coaches who had used racial slurs and never suffered any consequences as a result of their

discriminatory actions. Also, putting his fate in the hands of his teammates who had exhibited

racist conduct toward him, immenser disturbed Plaintiff.

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42. Plaintiff was ultimately “reinstated” through hard efforts, however, this did not
mean an end to the verbal abuse and discriminatory treatment by his coaches and teammates. ln
fact, the racist abuse continued along with a concerted effort by his coaches and teammates to
alienate Plaintiff and make him feel less than human.

43. For example, one of Plaintiff s White teammates, Danil Zelenkov, blatantly asked
him while they were watching a match, “Were all of your ancestors’ slaves at one point?”

44. Zelenkov had had regular outbursts and uncontrolled behavior on the court that
went completely unpunished. For example, shortly after Plaintiff was reinstated, Zelenkov went
into a rage during a match, breaking rackets and cursing at the referee. Unlike Plaintiff,
Zelenkov was never disciplined for his misconduct which led Plaintiff to feel further
demoralized regarding why he had been suspended from the team.

45. Plaintift”s father confronted Coach Munoz regarding why his son was suspended
when his White teammate wasn’t even disciplined for his disruptive and disrespectful behavior.
Munoz responded that this individual was seeking “professional help,” therefore disciplining him
was unwarranted

46. During the spring season, Plaintiff s father and other parents were witness to
serious racquet and verbal abuse from various players on the team, Plaintiff’s father would
constantly bring these issues up with Munoz in which Munoz dismissed the severity of these
offenses every time. Reynolds and Zelenkov had serious emotional and anger issues, Zelenkov
was notorious for breaking racquets and disrespecting officials. Reynolds would ofien spew

hateful racist rhetoric towards his opponents and throw his racquet around in a violent manner

when he would lose.

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47. As another apparent condition of his reinstatement, Plaintiff was excluded from
the line-up and was only allowed to take a supporting role for the White players on the team.
This included Plaintiff helping to warm up his white teammates prior to their matches and being
required to cheer for them on the sidelines. Coach Munoz often tried to get Plaintiff and his
Persian teammate to taunt other team members of opposing schools in order to overthrow their
results.

48. In or around March 2015, as a match was about to start and Plaintiff was finishing
warming up one of his teammates, another teammate, Chris Reynolds (“Reynolds”), who is
Caucasian, yelled at Plaintiff, “Get off the court, monkey!” Munoz was present and within
distance to hear Reynolds make this overtly racist statement to Plaintiff, but Munoz did nothing
about it.

49. In or around April 2015, on a trip to Florida for a tournament during Spring Break,
Plaintiff shared a room with one of his teammates, Cahit Kapukiran. That night, Kapukiran
yelled “NIGGER! !” extremely loudly, purportedly so that Plaintiff’s other teammates could hear
it in the adjoining rooms. Plaintiff feared that if he said or did anything, Coach Munoz would
accuse Plaintiff of being aggressive and kick him off the team again.

50. During this same trip to Florida, the team went to an amusement park with the
coaches. At the amusement park, Reynolds repeatedly made derogatory and racist remarks to
Plaintiff including making “monkey” jokes and yelling at Plaintiff, ‘Ha ha, you’re black! ’ which
was heard and smiled upon by another teammate, Christos Hadjigeorgiou.

51. 'I`owards the end of the 2015 academic year, the team played in a conference

tournament in Ohio. Again, Munoz excluded Plaintiff from the lineup and playing in the

tournament.

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52. During the tournament, Plaintiff’s teammate, Francisco Dias, played a Black
tennis player, who proved to be a challenge for Dias. At the end of the match, the team huddled
up and Diaz yelled, “{i.icking porch monkey” or “fuck that porch monkey.” Coach Munoz and
Torrie Browning, GWU Associate l-Iead Coach, an African-American female, were in the team
huddle and heard Dias’s statement. Coach Munoz looked back at Plaintiff and said, “You know,
he doesn’t really mean what he said. It’s not a big deal.” Plaintiff looked at Browning, but she
said nothing.

53. Coach Munoz would constantly work on every opportunity to defame Plaintiff and
his Persian teammate’s name. He often talked to the women’s tennis team about both of them in
negative ways and would have secret meetings and conversations with various teammates about
their opinions on Plaintiff and his Persian teammate. This news would always get back to
Plaintiff through a third party.

54. Defendant fostered an environment that was conducive to blatant discriminatory
conduct. Not only did Defendant condone discrimination, the University, through its coaching
staff, perpetrated that racist conduct on Plaintiff by letting him know in no uncertain terms that
he was inferior to his White teammates and ultimately, it was only his White teammates who
mattered. As a result of overt racism, Plaintiff suffered from anxiety, extreme depression and
severe mental anguish. His grades from his Spring Freshman year plummeted to well below a
2.0 grade point average.

55. At the start of the next season, in September 2015, Coach Munoz purposefully
excluded Plaintiff from the men’s tennis team’s picture, which was posted on the school’s

website and used for promotional materials at various toumaments.

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56. Defendant GWU regularly disregarded Plaintifi’s success from the GW tennis
team’s website, but regularly promoted the White players’ success.

57. During the Spring of Plaintist sophomore year, a fitness coach, who previously
worked at GWU, told Plaintiff that Coach Munoz had joked with him about having recruited a
black tennis player for the team and referred to Plaintiff as his ‘token black kid’.

58. Plaintiff was also excluded from a group chat that consisted of the players.

59. At the first individual tournament of the Fall 2015 season, Plaintiff won his first
match. During his second match, Plaintiff heard Chris Reynolds yelling obscenities on the court
like “faggot” and “cocksucker” so loudly that the entire audience could hear him.

60. Plaintiff won the match and at the end, he yelled, “let’s go!” Associate Head
Coach Browning walked over to Plaintiff and said, “really (Plaintiff)?” Plaintiff could not figure
out what he had done wrong. Browning called everyone into a huddle and started chastising
Plaintiff for being too “passionate” and for not conducting himself in a professional manner.

61. Plaintiff asked Browning why Reynolds was not reprimanded for his behavior for
yelling homophobic slurs. Browning claimed that she reprimanded Reynolds, but this was false.

62. During the huddle, and in front of Coach Browning, the assistant coach, Rafael
Aita, and Plaintiff’s teammates admitted to Plaintiff that they had wanted him to lose his match.
Even though Plaintiff had previously been suspended for supposedly not showing enough team
spirit, Coach Aita and the team were not disciplined despite telling Plaintiff that they wanted him
to lose. Plaintiff was also the only one on the team that had a clean record of 2-0 that weekend;

but this was never highlighted to the extent it should have been.

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63. At the start of preseason of the Spring 2016 semester, Plaintiff was doing a drill
with Chris Reynolds that required both of the players to be on the same side of the net. Reynolds
Started yelling at Plaintiff. Both players approached each other in a confrontational manner.

64. Munoz separated the players by grabbing Plaintiff and physically removing him
from the area. He told Plaintiff that he was going to kick him off the team. Plaintiff asked, “for
what?” Munoz began giving him examples, including that Plaintiff didn’t say “good morning”
to him in the morning, that he thought that Plaintiff believed he was “good looking,” that
Plaintiff interacted socially with his fraternity more than the tennis team, Plaintiff told Coach
Munoz that he felt extremely uncomfortable due to all the racism on the team in which Munoz
responded, “There is no racism on the team.” He also asked Plaintiff whether he liked Donald
Trump.

65. A few days after this incident, Plaintiff and his teammates learned that Coach
Munoz had been terminated There were rumors swirling around that Munoz had a drinking
problem and had several violent encounters with the police in a drunken state. Upon
information and belief, the reasons for his termination did not pertain, at all, to his discriminatory
treatment of Plaintiff. Coach Browning, who was previously the Assistant Head Coach, became
the interim head coach. Coach Munoz, however, was still involved with the program. Plaintiff
continuously received e-mails from Munoz and also saw Munoz walking around campus at
various times. Therefore, under no doubt, was Munoz still influencing the program in his own
way.

66. Reynolds and Plaintiff’s other teammates repeatedly harassed Plaintiff throughout
his Sophomore season because of his race. For example, Femando Sala, a white teammate,

asked Plaintiff on numerous occasions how it was possible that Plaintiff Was Black and that he

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had money, as if the two were mutually incompatible. Additionally, Sala, Reynolds and
Hadjigeorgiou attempted numerous times to get Plaintiff to show them his penis because they
wanted to see if it was true that Black men have large genitals.

67. A month or two into the Spring 2016 season, Coach Aita told the team during
practice that practice sets would be used to determine who would be in the lineup for matches.
The team played each other for lineup positions and Plaintiff beat two white players, Reynolds
and Christos, back to back, however the coach staff still excluded Plaintiff from the lineup.

68. During Spring Break in March 2016, the team traveled to California for a team
toumament. One night during the toumament, Coach Aita invited Plaintiff to his room the night
before the match for a quick meeting Aita told Plaintiff that he would allow Plaintiff to play the
next day in a doubles match, but only because he did a good job of supporting the team and
cheering. Plaintiff was disappointed that he was performing so well tennis wise and only getting
a chance to play doubles. However, he still took it as a positive and looked forward to match
day. Plaintiff then realized that this was a direct violation of the tennis team policies due to the
fact that only the head coach is allowed to make the lineup. Therefore, the assistant coach
mishandled his position and breached the necessary policies.

69. The next day, before his scheduled match, Plaintiff began warming up with his
doubles partner. Right before the match was to start, the team huddled up as they normally did
to psyche themselves up for the matches. During the team huddle, Coach Browning gave the
lineup and Plaintiff was not on it. Plaintiff felt shocked and utterly dejected. A white teammate

took Plaintiff’s place in the doubles match,

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70. After this tournament, on March 22, 2016, Plaintiff reached out to Defendant Early
to complain about the tournament, the racist mistreatment he was subjected to and the lack of
playing time. He relayed his concerns to her during their meeting on March 24, 2016,

71. Assistant Director Early scheduled another meeting with Plaintiff, herself and
Browning, In that meeting, Coach Browning explained that she had been excluding Plaintiff
from the lineup the entire season because he ‘hit the ball too hard’, wasn’t disciplined and wasn’t
a team player. These reasons make absolutely no sense due to the fact that a player’s success is
the basis for making a line up position. Plaintiff had had no infractions as well therefore his
exclusion from the line up was extremely biased. Assistant Director Early later told Plaintiff to
just let the season pass and wait for the next coach to arrive. Plaintiff raised the issues of
discriminatory treatment during the meeting but his concerns were often ignored and reverted
back to his own behavior of social withdrawal.

72. Plaintiff" s father was aware of the mistreatment of Plaintiff and was very adamant
about having an open line of communication with Nicole Early, who he was instructed to talk to.
Plaintiff’ s father tried to contact Nicole Early at various times in which she ignored the greater
majority of his requests.

73. At the end of the year after the A-10 championships, Plaintiff was never given any
A-10 champion rings or any other paraphernalia as a result of GWU’s success at the toumament.
lt wasn’t until Plaintiff s senior year that the request of obtaining a ring was even acted upon.
However, Plaintiff still never received anything even alter he was dismissed from the school.

74. In the F all of 2016, Plaintiff became a junior and David Macpherson (white male)

became the Head Coach of the GWU’s men’s tennis team, Unf`ortunately for Plaintiff, nothing

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changed with respect to the discriminatory treatment and hostility he was subjected to by the
Defendant.

7 5. At the outset of the school year, Plaintiff noticed that he Was not receiving any
emails or notifications regarding team meetings or beginning of the year team events. Plaintiff's
participation in some of these events was required in order for him to be eligible to play.
Plaintiff waited a week to hear anything in which he was frantically trying to figure out what was
going on. Plaintiff contacted Assistant Director Nicole Early to find out why he had not received
any communications from the team. Torrie Browning was interim head coach during Plaintiff’s
sophomore year therefore she was responsible for sending out the required e-mails to each
designated player. During Plaintiff’s senior year, one of his younger teammates told Plaintiff
that he overheard Rafael Aita telling Torrie Browning that she made a huge mistake and that she
should’ve signed the waiver in order to formally release Plaintiff from the team. Plaintiff’s
teammate told him that Aita sounded extremely uneasy about Browning’s mishandling of the
situation as they realized they violated important procedures and policies. Plaintiffs teammate
was under the impression that there was a plot between Plaintiff’s teammates and the coaches to
get Plaintiff kicked off the team in the most discrete way possible.

76. Assistant Director Early directed Plaintiff to contact Coach Macpherson. When
Plaintiff contacted Coach Macpherson to ask him about when practices would begin, the Coach
responded that Plaintiff was not on the team, but that there would be tryouts the following
semester and that he would consider bringing Plaintiff on the team at that time. This was
shocking news to Plaintiff because he was already on the team and was never told otherwise, nor

was there a basis to have removed him from the team, Interestingly, Plaintift`s name still

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appeared on the roster. There were two other white male freshman players that were on the team
that had seemingly replaced Plaintiff,

77 . Shortly thereafter, Plaintiff’ s father tried to speak to the President of the University
but the President’s office refused to take his request. Helen Cannaday Saulny, the Vice Provost,
called Plaintiff's father to set up a meeting Saulny brought Ed Scott, Senior Associate of
Athletics, to the meeting with Plaintiff and his father. During the meeting, Plaintiff and
Plaintiffs father talked about all of the overt racism, the violation of various policies and
procedures, the defamation of character and the emotional stress Plaintiff was experiencing
Saulny and Scott were mortified and could not understand how all of these things were
happening simultaneously. They were more confused with why nothing was being done and
why Plaintiff was such an enormous target. Both Saulny and Scott told Plaintiff and his father
that Plaintiff was still on the team and assured them that Plaintiff had not done anything that
warranted his suspension or removal. They further indicated that Plaintiff would have had to
have signed a waiver in order to be removed from the team. Therefore, Plaintiff was excluded
from the team illegally and the coaches were in direct violation of GWU athletic department and
NCAA rules and regulations

78. Nevertheless, Coach Macpherson refused to allow Plaintiff to be on the team, Ed
Scott ended up setting up a tryout in front of Coach Macpherson. Plaintiff and his father were
again perplexed because Plaintiff was told directly in the meeting that he was still on the team.
How was it possible for Plaintiff to physically be on the team but still have to tryout for the
team? Due to Macpherson’s busy schedule with due fact that he was rarely present with the
team, it was tough to schedule a tryout. Plaintiff did not have much option in this situation and

decided again, to take this as a positive and execute the tryout to the best of his ability. Plaintiff

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had not been playing consistently due to the coach’s mishandling of Plaintiff’s placement on the
team therefore Plaintiff had to postpone the tryout to an even later date (later than what
Macpherson had planned due to his usual absent presence at GWU) in order to ultimately play
his best tennis. Plaintiff was also left off of the team picture for the second year in a row.

79. Shortly after his second “reinstatement,” four of his White teammates, Chris
Reynolds, Christos Hadjigerorgiou, Chris F letcher and Dennis Afanasev, worked on a plan to
provoke Plaintiff, including, but not limited to, making racist statements, in hope that Plaintiff
would get into a physical altercation or do something that would get him kicked off of the team.
Plaintiff was alerted by his South African teammate that before his tryout in front of
Macpherson, there was a grand plot to overthrow the tryout so that Plaintiff would not be let
back on the team, Plaintiff’s teammate told Plaintiff that before he got onto the team, the other
team members spewed the most hateful things about Plaintiff to him and other people in the
university. Plaintiff’s teammate showed Plaintiff messages in the team’s individual group chat
which is still present, Reynolds and Afanasev devising a plan to mess up Plaintiff s chances of
playing good tennis before his tryout. Of` the array of group messages contains Afansev asking
the other players “Should I provoke Jabari?... Like tell him he ain’t shit just to get him mad” and
Reynolds telling him “Dennis. Don’t be nice to him. Be professional. And kill him. .. ‘we’ are
relying on you”

80. In a private text message to one of Plaintiff’s teammates who shared it in the
private teammate group chat (which Plaintiff was not part of), Macpherson is shown stating and
admitting that “Jabari was not officially taken off the team last year, . .He was respectful and
genial today. .. He showed a lot of potential today in my opinion. . .If he takes the coaching well

(which he did today) he could harness his power and become a dangerous player. ..You guys

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have given me your opinion of Jabari” Directly after this message which was shared in the group
chat, Reynolds tells everybody “Hey, guys conference call in Rome hall”. Femando,
Hadjigeorgiou and other teammates co-conspired when and where they would meet to talk about
Plaintiff s reinstatement

81. Afanasev repeatedly asked Plaintiff how it was possible that he was Black and had
money. Afanasev would purposefully equate Black people as being poor. Plaintiff, teammates
and other parents also witnessed Afanasev calling his black opponents “monkeys.” Afanasev
once joked to another teammate that he (Afansev) was “black like Jabari and I’m from Southeast
[D.C.], the hood.” Southeast D.C. is a predominantly African American section of the District of
Columbia. During times when the coach would drive the team to practice, Afanasev would play
rap music and anytime the word “nigga” was used in a song, he would yell “NIGGA!” in
Plaintiff s ear. Plaintiff felt that he could not do anything about this racist treatment because of
the risk that he would be thrown off the team again.

82. Coach Macpherson almost never appeared with the team. Because he was never
with the team, Plaintiff would be targeted by the assistant coaches and fellow teammates.
During one instance, Plaintiff was getting ready for a practice set that would’ve been crucial to
him playing in the lineup during spring break. Plaintiff began warming up while his opponent,
Femando, came late. Femando started taunting Plaintiff and trying to provoke him so he would
react aggressiver and ruin his chances. Plaintiff told Rafael Aita numerous times in which Aita
told Plaintiff to just play. During the set, Fernando continued with the taunting which was
unsportsmanlike and disrespectful. Plaintiff pointed this out to Aita, who was present on the
court, and told Plaintiff tojust play again. Plaintiff lost the match due to the constant bickering

and taunting Plaintiff yelled at Aita and asked him how he could let this happen and why he

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would never do anything to make it fair for everyone. Plaintiff gets a call from Macpherson who
was contacted by Aita and told his side of the incident, Plaintiff told Macpherson about all of the
conspiracies, racial discrimination and defamation of Plaintiff’s character, Macpherson told
Plaintiff that he would be more aware of these things and told him that he would ultimately
handle everything Macpherson sent an email to Plaintiff that he was suspended for one practice
day and that other parties would be dealt with as well. Nobody else was given punishment
besides Plaintiff.

83. Plaintiff’s father and Macpherson had an open line of communication and did
communicate at various times. Macpherson appreciated Plaintiff’s father’s respect for him and
his tennis program and never had any problems with Plaintiff’s father overstepping his
boundaries. Plaintiff s father had various conversations with Macpherson about a lot of the overt
racism and unfair playing fields Plaintiff was experiencing Plaintiff’s father talked to
Macpherson at the A-10 championships to talk about the unfair treatment of Plaintiff in which
Macpherson appreciated because of the respect he showed. One of the issues that were brought
up was why Plaintiff was not given an opportunity to compete in the same way everybody else
was given. Plaintiffs junior season progression had been stalled due to the amount of pressure
that was put on him to win the little amount of matches he was even allowed to play with such
massive time periods in between them. The team ended up losing the A-l 0 championships,
where various teammates, that took up positions that should’ve been rewarded to Plaintiff,
performed extremely poorly. This was the first year that GWU had lost in a long time due to
Macpherson’s poor decision making However, Plaintiff’s father never had any conversations

directly about playing time with any other the coaches during Plaintiff’s tenure, If there were

conversations, he only discussed even level playing fields.

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84. When Macpherson was present, Plaintiff would talk about these issues with
Macpherson on the GWU campus. Macpherson would often compare Plaintiff with his father
and tell Plaintiff to ‘man up and deal with it (the overt racism) like your father did’. He was
trying to attribute his father’s success in business to Plaintiff ultimately staying quiet about the
issues he was facing and trying to overcome these things that were weighing down on his
performance Macpherson was extremely aware of all of these instances but did absolutely
nothing to help Plaintiff’s situation.

85. Plaintiff also experienced defamation of character from his fellow teammate’s
parents. Fletcher’s mother would berate Plaintiff’s doubles partner for playing with Plaintiff,
Plaintiff’s doubles partner told Plaintiff that Fletcher’s mother asked, “Why are you playing with
(Plaintiff). . .Does he control you?” Plaintiff remembers Fletcher’s mother sitting directly behind
him during a match in the fall season of his senior year.

86. David Macpherson was also extremely insensitive about the current political
climate. Macpherson chose Trump’s tennis facility in Virginia to practice at during the winter.
Due to the pretentious environment and the strong political opinions of its members, Plaintiff
would usually get questioned on how he got into GWU and whether he was on scholarship or
not. This facility was 50 minutes away from campus and Plaintiff would usually be exhausted as
soon as he got home. Coincidentally, this facility was closer to where Macpherson lived.
Macpherson always made decisions based on his needs in terms of when he showed up to
practice and where we practiced at.

87. The effort to get Plaintiff kicked off of the tennis team continued in Fall of 2017,
Plaintiff"s senior year. One of Plaintiff's teammates, an Indian player, who was aware of (but

not a part ot) the plot to remove him from the team, told Plaintiff that Reynolds referred to

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Plaintiff as a “cotton picking nigger.” This person also told Plaintiff that Reynolds had tried to
get him to record Plaintiff doing or saying something negative that would result in Plaintiffs
removal, but that he refused to go along with this plan.

88. Plaintiffs family was verbally attacked and harassed at the GWU tennis courts by
one of the GWU employees that worked in the tennis office and conducted tennis lessons to
individuals who weren’t on the team. Any GWU player on the tennis team is allowed to use the
courts any time he or she pleases. However, the employee still approached my family and
questioned why they were on the courts. The employee took out his phone in hopes to continue
to provoke Plaintiff and his family so they would get caught retaliating on camera. Plaintiff and
his father e-mailed Macpherson and told him about the incident, Macpherson apologized for
what had transpired and told the employee to stay away from Plaintiff and respect him going
forward. The employee did not directly belong to the GW men’s tennis team but did work in the
tennis department at GW alongside Macpherson.

89. The Indian teammate (who is in a protected class) also informed Plaintiff that he
had been sexually harassed and assaulted by Chris Reynolds on multiple occasions. He told
Plaintiff that Reynolds would stick his finger up his anus on several occasions and that Reynolds
would “sling” his genitals in his face. In one incident, Reynolds wiped toilet paper filled with
excrement on this teammate’s face. In another incident, Reynolds attempted to shove a traffic
cone up his anus. Plaintiffs teammate told him that he was scared for his life and when he
brought up these issues with the coaching staff; they ignored him. In another instance, this
teammate told Plaintiff that Reynolds had physically assaulted him at a practice by slapping him
in the face. The new assistant coach, Damien Farinola, soon became aware of what had

transpired The Indian player told Farinola that he was going to call the police. Farinola

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prevented him from calling the police, Upon information and belief, Reynolds’ sexual assault
and harassment of this player, as well as his harassment of another one of Plaintiffs teammate,
was reported to the police, yet GWU took no action. This teammate told Plaintiff that when
Macpherson finally heard the news, he wasn’t shocked. Instead of punishing this student and
going through the right legal procedures, he tried to get Reynolds to apologize to him.

90. As a result of Defendant’s conduct, Plaintiff struggled with trying to deal with
overt racism, conspiracies to end Plaintiff’s collegiate tennis career, unfair playing fields in
practice and defamation of Plaintiff’s name throughout multiple occasions. It became so grave
that Plaintiff was often worrying about his mental health and personal identity more than
spending time working on his tennis career and academic performance GWU academically
suspended Plaintiff for failure to maintain the required GPA. Plaintiff went home to
Philadelphia and essentially shut his life down for several months. He no longer cared about the
things he once enjoyed or was passionate about. I-Ie lost his desire to play tennis at a
professional level and to achieve academic success. He lost all of his confidence in his
relationships and in dealing with everyday life. Not only was his tennis career significantly
affected by Defendant’s actions, but he was also deprived of a college degree.

91. Despite Plaintiff and his father’s numerous complaints regarding the blatant
racism he was subjected to by his coaches and teammates, GWU took no action to discipline
these individuals or otherwise rectify the systemic racism that was occurring on its tennis team,

92. The numerous acts of overt racism led to another player of color (not Plaintiff)
being physically and sexually assaulted by the same teammate that Plaintiff was complaining

about throughout his 3 '/z years at GWU, The coaching administration (Farinola and

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Macpherson) knew about the incident and did not take the right procedures towards handling the
situation.
INJURY TO PLAINTIFF
93. As a result of Defendant’s discriminatory conduct, Plaintiff has suffered, and in
the future will continue to suffer, irreparable loss and inj ury, including, but not limited to,
economic loss, humiliation, embarrassment, mental and emotional distress, and the deprivation

of his rights to equal opportunities

94. Through Defendant GWUs actions, including the actions of its employees, agents,
and/or representatives described above, Defendants acted intentionally, maliciously, oppressively

and with willful, callous, wanton and reckless disregard for Plaintiff’ s rights.

CLAIMS FOR RELIEF
COUNT I
Discrimination Under the District of Columbia Human Rights Act (DCHRA)
Against all Defendants
95. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

96. The D.C. Human Rights Act (DCHRA), D.C. Code Ann. §§ 2.1401.01 et seq.,
aims to provide every individual with an equal opportunity to participate in "all aspects of life,"
including, but not limited to, access to education.

97. Section 2-1402.21 makes it unlawful for an educational institution to "deny,
restrict, or to abridge or condition the use of, or bar access to, any of its facilities and services to

a person otherwise qualified, wholly or partially, for a discriminatory reason," based on the race,

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color, religion, national origin, sex, age, marital status, personal appearance, sexual orientation,
family responsibilities, political affiliation, source of income, or disability.

98. Plaintiff is African American and a member of a protected class.

99. It is unlawful to coerce, threaten, retaliate against, or interfere with any person
exercising his/her rights under the law and prohibits persons from requiring requesting, or
suggesting a person take such prohibited actions, ln addition, it is unlawful to cause or coerce, or
attempt to cause or coerce, any person to prevent such person from complying with the law. See
id. at § 2-1402.61. Anyone who aids, abets, invites, compels, or coerces another to do any of
these prohibited acts or attempts to do so, also violates the law. See id. at § 1-2526.

100. Defendant, by committing the aforesaid acts, violated D.C. Code Ann. §§

2. 1401 .01 et seq. in multiple respects.

WHEREFORE, Plaintiff respectfully prays that this Court enter appropriate judgment in
Plaintiff’s favor and against Defendants.

Q)_U_NM

Discrimination Under Title VI
Against all Defendants

101. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

102. Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, provides that “[n]o
person in the United States shall, on the ground of race, color, or national origin, be excluded
from participation in, be denied the benefits of, or be subjected to discrimination under any
program or activity receiving Federal financial assistance.”

103. GWU is a program or activity that receives Federal financial assistance.

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104. Defendants, by performing the aforesaid acts, engaged in intentional
discrimination against Plaintiff with malice and/or with reckless indifference to his protected
rights.

WHEREFORE, Plaintiff respectfully prays that this Court enter appropriate judgment in
Plaintiff’s favor and against Defendants.

COUNT III

Discrimination Under Section 1981 of the Civil Rights Act of 1866
Against all Defendants

105. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

106. Section 1981, as amended by the Civil Rights Act of 1991 , prohibits racial
discrimination in the “making, performance, modification, and termination of contracts, and the
enjoyment of all benefits, privileges, terms and conditions of the contractual relationship.” 42
U.S.C. 1981.

107. As described above, Defendants’ violations of Plaintiff’s constitutional rights
because of his race is in violation of Section 1981 of the Civil Rights Act of 1866, as amended,
42 U.S.C. § 1981, et seq.

108. Defendants engaged in intentional discrimination against Plaintiff with malice
and/or with reckless indifference to his federally protected rights when they performed the
aforesaid acts on the basis of race,

WHEREFORE, Plaintiff respectfully prays that this Court enter appropriate judgment in

Plaintiffs favor and against Defendants,

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COUNT IV
Breach of Contract
Against Defendant GWU
109. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

110. The relationship between a university and its students is contractual in nature.
Plaintiff and GWU had a valid contract between the parties that was created when Plaintiff
elected to attend GWU and participate on its tennis team.

111. Under D.C. law, all contracts contain an implied covenant of good faith and fair
dealing

112. In making the contract to attend GWU, there was an agreement as to all material
terms and an intention of Plaintiff and GWU to be bound to those material terms.

113. Plaintiff paid his tuition in full and otherwise adhered to all of the terms and
conditions of the contract between himself and GWU,

1 14. Defendant, conversely, breached the said contractual agreement in multiple
respects, by its aforesaid conduct,

WHEREFORE, Plaintiff respectfully prays that this Court enter appropriate judgment in
Plaintiff’s favor and against Defendants,

COUNT V
Negligent lnfliction of Emotional Distress
Against All Defendants

115. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

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116. Defendant GWU owed Plaintiff a duty to investigate and address the
discriminatory conduct that was subjected to by the coaches, administration and players, which
Plaintiff reported to multiple GWU officials

117. Defendant GWU owed Plaintiff a duty to act with reasonable care in furtherance
of his wellbeing,

118. Defendant GWU had the duty, authority, power and ability to intervene to prevent
or prohibit the discrimination and retaliation described herein.

119. GWU negligently failed to act to protect Plaintiff, thereby breaching its duty to
him.

120. As a result of its negligence, GWU stalled Plaintiff s tennis career, caused him
not to graduate from the university with a degree and caused him severe emotional distress

121. Plaintiff was physically impacted as a result of GWU’s negligence. As a direct
and proximate result of the discriminatory and unsafe educational environment created by
Defendant’s negligent response to the discriminatory conduct, Plaintiff suffered and will
continue to suffer severe emotional distress

122. Defendant GWU’s negligent conduct placed Plaintiff in the zone of immediate
physical danger, causing him to fear for his own safety, As a direct and proximate result of the
harassing and unsafe educational environment created by Defendant’s negligent response to the
persistent discriminatory conduct, Plaintiff became fearful for his life and safety, which required
him to seek medical treatment to cope with the stress of participating on the men’s tennis team,
attend school and live with the constant threat of physical and emotional violence.

123. Defendant GWU had a special relationship with, or had undertaken a special

obligation to Plaintiff of a nature that necessarily implicated Plaintiff’s emotional wellbeing,

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GWU had undertaken a special obligation to Plaintiff arising from the relationship between a
student and his educational institution. Universities are dedicated to furthering the wellbeing of
their students and its breach of its duty to protect its students from discrimination resulted in
serious emotional harm to Plaintiff,

124. As a direct and proximate result of the discriminatory and unsafe educational
environment created by Defendant’s negligent response to the discriminatory conduct, Plaintiff
was placed in immediate physical danger, causing him to fear for his life and severe emotional
distress, as aforesaid

WHEREFORE, Plaintiff respectfully prays that this Court enter appropriate judgment in

Plaintiff’s favor and against Defendants

COUNT VI
Negligent Retention
Against Defendant GWU
125. Plaintiff realleges and incorporates by reference all of the allegations set forth in

the above paragraphs of this Complaint.

126. An employer breaches a duty to a plaintiff to use reasonable care in the retention
of an employee which proximately caused harm to the plaintiff if that employer knew or should
have known its employee behaved in a dangerous or otherwise incompetent manner and the
employer failed to adequately supervise the employee.

127. Defendants Munoz, MacPherson, and Patrick Nero, are or were agents servants
workmen or employees of GWU.

128. GWU knew of Munoz’s discriminatory conduct toward Plaintiff, as well as past

misconduct towards other students, including GWU’s knowledge that Munoz improperly and

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illegally suspended Plaintiff from the Men’s tennis team, and illegally demanded that Plaintiff
pledge for a predominantly White fraternity as a condition of reinstating him, expecting that
Plaintiff Would not be able to join the White fratemity.

129. Despite GWU’s knowledge of Munoz’s conduct, they failed to adequately
supervise him.

130. Even after it was brought to GWU’s attention that Munoz was discriminating
against Plaintiff, GWU failed to take any action, including failing to investigate and address
Plaintiff’s allegations of discrimination,

131. Upon information and belief, Munoz had previously caused harm to other
students who were the victims of discrimination and harassment by Reynolds and the other
White tennis team members

132. Upon information and belief, GWU is aware of several instances of harm that
Munoz has inflicted upon them and GWU failed to take adequate measures to ensure that Munoz
followed university procedures

133. GWU has negligently retained Munoz and therefore caused harm to Plaintiff,

134. Similarly, Defendants knew of serious discriminatory conduct and other
misconduct by other administrative personnel, such as Macpherson and Nero, but failed to
properly supervise them, to the detriment and damage of students, including Plaintiff,

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that this Court enter judgment against

Defendants as follows:

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a) Declaring that Defendants unlawfully discriminated against Plaintiff on the basis of
race and retaliated against him in violation of D.C. Code § 2-1401.01. er .s'ec;. and 42
U.S.C. § 1981, etseq.;

b) enter a permanent injunction directing Defendants to take all affirmative steps
necessary to remedy the effects of the illegal_. discriminatory conduct described herein
and to prevent similar occurrences in the future;

c) award compensatory damages in an amount to be determined by the jury that would
fully compensate Plaintif f for the economic loss, humiliation, embarrassment and
mental and emotional distress caused by the conduct ol`Def`endants alleged herein:

d) award punitive damages to Plaintiff in an amount to be determined by thejury that
would punish Defendants l"or their willl"ul. wanton. and reckless conduct alleged
herein and that would effectively deter Defendants from engaging in similar conduct
in the future;

e) award Plaintiff reasonable attomeys’ fees and costs incurred in this action_:

i) order such other reliefas this Court deems just and equitable

JURY DEMAND
Plaintiff hereby demands a trial byjury.

Respectfully submitted

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abari Stal"l"ord

Date: November 21. 2018

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